                                        EXHIBIT A

                                 List of Objectionable Claims




DOCS_DE:236489.4 75015/003
 Case 2-20-20230-PRW,        Doc 1404-1, Filed 11/01/21, Entered 11/01/21 18:58:02,
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   Claimant Name       No. of        Amount of       Classification    No. of       Amount of     Classification Grounds for Disposition if Objection
                    Objectionable   Objectionable     (as filed) of   Surviving   Surviving Claim (as filed) of   Objection        is Granted
                        Claim           Claim        Objectionable      Claim                      Remaining
                                                         Claim                                        Claim

                                                                                                                              Claim 66 is disallowed.
                                                                                                                              Claim 20208 is not
                                                                                                                Claim 66      affected by the
                                                                                                                and Claim     Objection, but remains
                                                                                                                20208 are     subject to other and
BIOLIFE, LLC             66              $6,134.40             GUC     20208           $6,134.40 GUC            duplicates.   further objection.

                                                                                                                              Claim 138 is disallowed.
                                                                                                                Claim 138     Claim 398 is not affected
                                                                                                                and Claim     by the Objection, but
                                                                                                                398 are       remains subject to other
BRENNAN, JOSEPH E       138            $150,000.00             GUC      398          $150,000.00 GUC            duplicates.   and further objection.


                                                                                                                              Claim 30 is disallowed.
                                                                                                                Claim 30      Claim 135 is not affected
                                                                                                                and Claim     by the Objection, but
DICKSON‐HOWELL                                                                                                  135 are       remains subject to other
PARTNERSHIP              30                $768.00             GUC      135              $768.00 GUC            duplicates.   and further objection.

                                                                                                                            Claim 20027 is
                                                                                                                            disallowed. Claim 72 is
                                                                                                                Claim 20027 not affected by the
HR                                                                                                              and Claim   Objection, but remains
PHARMACEUTICALS                                                                                                 72 are      subject to other and
INC                    20027             $1,004.83             GUC       72            $1,004.83 GUC            duplicates further objection.


                                                                                                                              Claim 153 is disallowed.
                                                                                                                Claim 152     Claim 152 is not affected
                                                                                                                and Claim     by the Objection, but
                                                                                                                153 are       remains subject to other
ITX CORP                153            $103,281.25             GUC      152          $103,281.25 GUC            duplicates.   and further objection.




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  Claimant Name         No. of        Amount of       Classification    No. of       Amount of     Classification Grounds for Disposition if Objection
                     Objectionable   Objectionable     (as filed) of   Surviving   Surviving Claim (as filed) of   Objection        is Granted
                         Claim           Claim        Objectionable      Claim                      Remaining
                                                          Claim                                        Claim


                                                                                                                               Claim 34 is disallowed.
                                                                                                                 Claim 34      Claim 61 is not affected
                                                                                                                 and Claim     by the Objection, but
                                                                                                                 61 are        remains subject to other
JM PARTNERS LLC           34             $33,781.10             GUC       61           $33,781.10 GUC            duplicates.   and further objection.


                                                                                                                               Claim 25 is disallowed.
                                                                                                                 Claim 25      Claim 61 is not affected
                                                                                                                 and Claim     by the Objection, but
                                                                                                                 61 are        remains subject to other
JM PARTNERS LLC           25             $33,781.10             GUC       61           $33,781.10 GUC            duplicates.   and further objection.


                                                                                                                              Claim 9 is disallowed.
                                                                                                                              Claim 61 is not affected
                                                                                                                 Claim 9 and by the Objection, but
                                                                                                                 Claim 61 are remains subject to other
JM PARTNERS LLC           9              $33,781.10             GUC       61           $33,781.10 GUC            duplicates. and further objection.


                                                                                                                               Claim 29 is disallowed.
                                                                                                                 Claim 29      Claim 71 is not affected
                                                                                                                 and Claim     by the Objection, but
                                                                                                                 71 are        remains subject to other
JOHN G KYLES INC          29              $1,160.04             GUC       71            $1,160.04 GUC            duplicates.   and further objection.


                                                                                                                               Claim 162 is disallowed.
                                                                                                                 Claim 162     Claim 384 is not affected
                                                                                                                 and Claim     by the Objection, but
KONICA MINOLTA                                                                                                   384 are       remains subject to other
BUSINESS SOLUTIONS       162              $5,696.69             GUC      384            $5,696.69 GUC            duplicates.   and further objection.



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  Claimant Name       No. of        Amount of       Classification    No. of       Amount of     Classification Grounds for Disposition if Objection
                   Objectionable   Objectionable     (as filed) of   Surviving   Surviving Claim (as filed) of   Objection        is Granted
                       Claim           Claim        Objectionable      Claim                      Remaining
                                                        Claim                                        Claim


                                                                                                                             Claim 8 is disallowed.
                                                                                                               Claim 8 and   Claim 373 is not affected
                                                                                                               Claim 373     by the Objection, but
                                                                                                               are           remains subject to other
KVK‐TECH INC            8              $52,512.12             GUC      373           $52,512.12 GUC            duplicates.   and further objection.


                                                                                                                             Claim 91 is disallowed.
                                                                                                               Claim 91      Claim 92 is not affected
                                                                                                               and Claim     by the Objection, but
LONG ISLAND CITY                                                                                               92 are        remains subject to other
CHEMISTS                91              $5,200.36             GUC       92            $5,200.36 GUC            duplicates.   and further objection.


                                                                                                                             Claim 3 is disallowed.
                                                                                                               Claim 3 and   Claim 170 is not affected
                                                                                                               Claim 170     by the Objection, but
NATURES HEALTH                                                                                                 are           remains subject to other
CONNECTION INC          3               $3,240.00             GUC      170            $3,240.00 GUC            duplicates.   and further objection.


                                                                                                                             Claim 54 is disallowed.
                                                                                                               Claim 54      Claim 102 is not affected
                                                                                                               and Claim     by the Objection, but
                                                                                                               102 are       remains subject to other
NEPHRO‐TECH INC         54              $7,650.00             GUC      102            $7,650.00 GUC            duplicates.   and further objection.


                                                                                                                             Claim 371 is disallowed.
                                                                                                               Claim 146     Claim 146 is not affected
                                                                                                               and Claim     by the Objection, but
NEW PHARMACY,                                                                                                  371 are       remains subject to other
THE                    371             $12,686.26             GUC      146           $12,686.26 GUC            duplicates.   and further objection.



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  Claimant Name        No. of        Amount of       Classification    No. of       Amount of     Classification Grounds for Disposition if Objection
                    Objectionable   Objectionable     (as filed) of   Surviving   Surviving Claim (as filed) of   Objection        is Granted
                        Claim           Claim        Objectionable      Claim                      Remaining
                                                         Claim                                        Claim


                                                                                                                              Claim 371 is disallowed.
                                                                                                                Claim 146     Claim 146 is not affected
                                                                                                                and Claim     by the Objection, but
NEW PHARMACY,                                                                                                   372 are       remains subject to other
THE                     372             $12,686.26             GUC      146           $12,686.26 GUC            duplicates.   and further objection.


                                                                                                                              Claim 48 is disallowed.
                                                                                                                Claim 48      Claim 130 is not affected
NORTH COAST                                                                                                     and Claim     by the Objection, but
COMPRESSORS D/B/A                                                                                               130 are       remains subject to other
RW LINDSAY               48                $442.80             GUC      130              $442.80 GUC            duplicates.   and further objection.

                                                                                                                            Claim 20012 is
                                                                                                                            disallowed. Claim 20041
                                                                                                                Claim 20012 is not affected by the
                                                                                                                and Claim   Objection, but remains
SHERALVEN                                                                                                       20041 are subject to other and
ENTERPRISES LTD        20012             $2,120.92             GUC     20041           $2,120.92 GUC            duplicates. further objection.


                                                                                                                              Claim 62 is disallowed.
                                                                                                                Claim 62      Claim 369 is not affected
VANDA                                                                                                           and Claim     by the Objection, but
PHARMACEUTICALS                                                                                                 369 are       remains subject to other
INC                      62             $33,800.58             GUC      369           $33,800.58 GUC            duplicates.   and further objection.

                                                                                                                              Claim 43 is disallowed.
                                                                                                                              Claim 20049 is not
                                                                                                                Claim 43      affected by the
                                                                                                                and Claim     Objection, but remains
VERDE                                                                                                           20049 are     subject to other and
TECHNOLOGIES             43                $780.00             GUC     20049             $780.00 GUC            duplicates.   further objection.



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